Name &Case 2:21-cr-00491-SB Document 116 Filed 02/11/22 Page 1 of 1 Page ID #:1593
      Address:
 John L. Littrell, SBN 221601
 Ryan V. Fraser, SBN 272196
 BIENERT KATZMAN LITTRELL WILLIAMS LLP
 903 Calle Amanecer, Suite 350
 San Clemente, California 92673

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                          CASE NUMBER:
 UNITED STATES OF AMERICA,
                                                                            2:21-cr-491-SB
                                           PLAINTIFF(S)
                          v.
 JEFFREY FORTENBERRY,                                              NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually ✔ Filed          Lodged : (List Documents)
 UNDER SEAL:

 1. Defendant Hon. Fortenberry's Unopposed Ex Parte Application to File Draft Transcripts
 2. Draft Transcripts
 2. [PROPOSED] ORDER granting Fortenberry's Unopposed Ex Parte Application to File
 Draft Transcripts




Reason:
✔     Under Seal
      In Camera
      Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
✔     Per Court order dated:          2/11/2022
      Other:
 Sealing per Protective Order




 2/11/2022                                                  Ryan Fraser
Date                                                       Attorney Name
                                                           Hon. Jeffrey Lane Fortenberry
                                                           Party Represented


Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/15)                           NOTICE OF MANUAL FILING OR LODGING
